Case: 1:20-cr-00111 Document #: 353 Filed: 05/31/22 Page 1 of 7 PagelD #:3541

UNITED STATES DISTRICT COURT

Northern District of Illinois

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
¥V. )
) USM Number: 54948-424
)
» )
) Donna A. Rotunno
) Defendant’s Attorney
THE DEFENDANT:
& pleaded guilty to count(s) I of the Indictment.
L] pleaded nolo contendere to count(s) which was accepted by the court.
LO was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense Offense Ended Count
18:371.F Conspiracy To Defraud The United States 12/31/2019 i
The defendant is sentenced as provided in pages 2 through of this judgment. The sentence is imposed pursuant to the Sentencing

Reform Act of 1984,

C1 The defendant has been found not guilty on count(s)

EX] Count(s) remaining are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances,

May 24, 2022”.
Date oppoeston of Ju My) /
Legian J Lilo

 

 

Signatur Hof a” ee
fy “Virginia Kendall, United States District Judge

Namé and Title of Judge

SRBIMB.

 

Date

 
Case: 1:20-cr-00111 Document #: 353 Filed: 05/31/22 Page 2 of 7 PagelD #:3542
TLND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
Sheet 4 — Probation Judgment — Page 2 of 7

DEFENDANT: VASILIOS PRASSAS
CASE NUMBER: 1:20-CR-00111(9)

MANDATORY CONDITIONS OF PROBATION PURSUANT TO 18 U.S.C § 3563(a)

The defendant shall be on probation for a term of 2 years as to count 1. The court imposes those conditions identified by checkmarks below:

The defendant shall, during the term of probation:
nq (1) not commit another Federal, State, or local crime during the term of probation.

bd (2) fora felony,
O pay restitution in the amount of $—
ES = perform community service at the discretion of the probation officer; OR
L1 the court declines to impose this requirement due to the following extraordinary circumstances:

 

Of because it has imposed a fine.
CI the following circumstances that render this condition plainly unreasonable:

 

Dd (3) not unlawfully possess a controlled substance.

CT (4) attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, ifan
approved program is readily available within a 50-mile radius of the legal residence of the defendant. [Use for a first
conviction of a domestic violence crime, as defined in §3561(b}. |

oO (5) refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
probation and up to 104 periodic tests thereafter for use of a controlled substance. (This mandatory condition may be
ameliorated or suspended by the court for any defendant if reliable sentencing information indicates a low risk of
future substance abuse by the defendant.)

O (6) make restitution AND pay the assessment imposed, (See special conditions.)

& (7) notify the court of any material change in the defendant's economic circumstances that might affect the defendant's
ability to pay restitution, fines, or special assessments.

Cl (8) register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C, § 16913),

4 (9) cooperate in the collection of a DNA sample if the collection of such a sample is required by law.

& (10) ifa fine is imposed, pay the fine or adhere to the court-established schedule. (See special conditions.)

DISCRETIONARY CONDITIONS OF PROBATION PURSUANT TO 18 U.S.C § 3563(b)

Discretionary Conditions.¢ The court orders that the defendant abide by the following conditions during the term of probation, because such
conditions are reasonably related to the factors set forth in § 3553(a)(1) and (a)(2) and are reasonably necessary for the purposes indicated in
§ 3553(a)(2). The court imposes those conditions identified by checkmarks below:

During the term of probation:
(1) you shall provide financial support to any dependents if financially able.

(2) you shall make restitution to a victim of the offense under § 3556 (but not subject to the limitation of § 3663(a) or
§ 3663 A(c)(1){A)}.

(3) you shail give to the victims of the offense the notice ordered pursuant to the provisions of § 3555, as follows

 

(4) you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
conscientiously a course of study or vocational training that will equip you for employment.

(5) you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship

to the conduct constituting the offense, or engage in the following specified occupation, bu , or profession only to a
stated degree or under stated circumstances; (if checked yes, please indicate restriction(s))

O WO OO

 

  

(6) you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
to be engaged, in criminal activity and shall not

i] visit the following type of places
[] knowingly meet or communicate with the following persons:

  
 

Ei (7) you shall refrain from (J any or & excessive use of alcohol (defined as Oo having a blood alcchol concentration greater

than 0.08); or LI , or any use of a narcotic drug or other controlled substance, as defined in § 102 of the Controlled
Substances Act (21 U.S.C, § 802), without a prescription by a licensed medical practitioner,
& (8) you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.

 

 
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Sheet 4 ~ Probation Judgment — Page 3 of 7

DEFENDANT: VASILIOS PRASSAS
CASE NUMBER: 1:20-CR-00111(9)

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& (12)
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Dh] «(15)
KM (16)
BK (17)
Dh] (18)
Oo 9

[] (0)
LJ (i)
(22)
Oh 3)

O you shail participate, at the direction of a probation officer, in a substance abuse treatment program, which may
include urine testing up to a maximum of 104 tests per year.

& you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
any medications prescribed by the mental health treatment provider

you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specify:

 

(intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
intervals of time, totaling 2:2) [no more than the lesser of one year or the term of imprisonment authorized for the
offense}, during the first year of the term of probation.

  
 

(community confinement): you shall reside at or participate in the program of a community corrections facility (including a
facility maintained or under contract to the Bureau of Prisons) for all or part of the term of probation, as follows

you shall work in community service for 400 hours as directed by the court. 100 hours shall be completed by end of 2 year
Probation sentence.
you shall reside in the following place or area

 

   

or refrain from residing in a specified place or area:

you shall not knowingly leave from the federal judicial district where you are being supervised, unless

granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogie, Stephenson, Whiteside, and Winnebago.
you shall repert to a probation officer as directed by the court or a probation officer.

&J you shall permit a probation officer to visit you & at any reasonable time or C1 as specified:
at home LI at work L] at school F) at a community service location

other reasonable location specified by a probation officer.
J permit confiscation of any contraband observed in plain view of the probation officer

you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
you shall notify a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
(home confinement)

[ —(a)(i) (home incarceration) for a period of __ months, you are restricted to your residence at all times except for

medical necessities and court appearances or other activities specifically approved by the court.

[4  (a)(ii) (home detention) for a period of __ months, you are restricted to your residence at all times except for
employment; education: religious services; medical, substance abuse, or mental health treatment; attorney visits,
court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.

(a)(iti) (curfew) for a period of __ months, you are restricted to your residence every day

from the times directed by the probation officer; or from to _.

OOO

(b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be

monitored by a form of location monitoring technology selected at the discretion of the probation officer, and you

shall abide by all technology requirements.

LJ (ce) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
able to do so.

you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the

District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support

and maintenance of a child or of a child and the parent with whom the child is living.

(deportation): you shall be ordered deported by a United States district court, or United States magistrate judge, pursuant to
a stipulation entered into by you and the United States under § 238(d)(5) of the Immigration and Nationality Act, except
that, in the absence of a stipulation, the United States district court or a United States magistrate judge may order
deportation as a condition of probation, if, after notice and hearing pursuant to such section, the Attorney General
demonstrates by clear and convincing evidence that the alien is deportable.

you shall satisfy such other special conditions as ordered below.

You shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)}(1)),
other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search

 

 
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iment in a Criminal Case
Sheet 4 — Probation Judgment — Page 4 of 7

DEFENDANT: VASILIOS PRASSAS

CASE NUMBER: 1:20-CR-00111(9)
pursuant to this condition only when reasonable suspicion exists that you have violated a condition of your supervision and
that the areas to be searched contain evidence of this violation, Any search must be conducted at a reasonable time and in a
reasonable manner.

fh] (24) Other:

SPECIAL CONDITIONS OF PROBATION PURSUANT TO 18 U.S.C. 3563(b)(22)

The court imposes those conditions identified by checkmarks below:
During the term of probation:

Cl () _~ ifyou have not obtained a high schoo! diploma or equivalent, you shall participate in a General Educational Development
(GED) preparation course and seek to obtain a GED within the first year of supervision.

[1 (2) you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60 days
of placement on supervision.

fi ©) ifunemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off from
employment, you shall perform at least 20 hours of community service per week at the direction of the U.S. Probation
Office until gainfully employed. The amount of community service shall not excee

 

C] ©) _ you shall not maintain employment where you have access to other individual’s personal information, including, but not
limited to, Sociai Security numbers and credit card numbers (or money) unless approved by a probation officer.

(5) you shali not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
you are in compliance with the financial obligations imposed by this judgment.

B (6) you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
with other conditions or of probation.

&] (7) ~~ within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
restitution, fines, or special assessments, you must notify the probation officer of the change.

Fr] (8) you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.

fC] (©) — you shall participate in a sex offender treatment program. The specific program and provider will be determined by a

probation officer. You shall comply with ali recommended treatment which may include psychological and
physiological testing. You shall maintain use of all prescribed medications.

oO You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the

United States Probation Office. You shall consent to the installation of computer monitoring software on all
identified computers to which you have access and to which the probation officer has legitimate access by right or
consent, The software may restrict and/or record any and all activity on the computer, including the capture of
keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
will be placed on the computer at the time of installation to warn others of the existence of the monitoring
software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.

O The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
to satisfaction of other financial obligations imposed by this judgment.
O You shall not possess or use at any location (including your place of employment), any computer, external storage

device, or any device with access to the Internet or any online computer service without the prior approval of a
probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
network or email system

0 You shall not possess any device that could be used for covert photography without the prior approval of a
probation officer.
CI You shall not view or possess child pornography. If the treatment provider determines that exposure to other

sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
determination, pursuant to 18 U.S.C, § 3583(e)(2), regarding whether to enlarge or otherwise modify the
conditions of supervision to include conditions consistent with the recommendations of the treatment provider.

O You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put

you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
locations where persons under the age of 18 regularly congregate, including parks, schools, school bus stops,
playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal

 
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Sheet 4 - Probation

Judgment — Page 5 of 7

DEFENDANT: VASILIOS PRASSAS
CASE NUMBER: 1:20-CR-00111(9)

(10)

(11)
(12)

(13)

(14)

you shail pay to the Clerk of the Court $:

commercial business or unintentional incidental contact
O This condition does not apply to your family members

 

O Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless

approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
approval! of a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to
the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
activity that may cause you to come into direct contact with children except under circumstances approved in

advance by a probation officer and treatment provider.
ti You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and

any other financial information requested.
1 ~=- You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that

impose restrictions beyond those set forth in this order.
you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
commencement of the term of supervised release, at a rate of net less than 10% of the total of your gross earnings
minus federal and state income tax withholdings.
You shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the

permission of the court.
as repayment to the United States of government funds you received

include Agency and

 
 

during the investigation of this offense. (The Clerk of the Court shall remit the funds to;
Address).

if the probation officer determines that you pose a risk to another person (including an organization or members of the
community), the probation officer may require you to tell the person about the risk, and you must comply with that
instruction. Such notification could include advising the person about your record of arrests and convictions and substance
use. The probation officer may contact the person and confirm that you have told the person about the risk.

  

 
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jgment in a
Sheet 5 — Criminai Monetary Penalties

DEFENDANT: VASILIOS PRASSAS
CASE NUMBER: 1:20-CR-00111(9)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Judgment — Page 6 of 7

 

 

 

 

 

 

 

 

 

 

 

Assessment Restitution Fine AVAA Assessment* | JVTA Assessment**
TOTALS $100.00 $.00 $26,006.00 $.00 $.00
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after such

determination.
[1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

oO Restitution amount ordered pursuant to plea agreement $

Cl The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant te 18 U.S.C. § 3612(f). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

J the interest requirement is waived for the $20,000 fine.
[J the interest requirement for the is modified as follows:
CI The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine

obligations.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after

September 13, 1994, but before April 23, 1996.

 

 

 

 
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Sheet 7 - Denial of Federal Benefits Judgment — Page 7 of 7

DEFENDANT: VASILIOS PRASSAS
CASE NUMBER: 1:20-CR-00111(9)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A & — Lump sum payment of $100.00 due immediately.

i balance due not later than , or

A balance due in accordance with J C, LD D, OE, or & F below; or

B [1 Payment to begin immediately (may be combined with 1] C, 1 D, or O F below); or

c L] = Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of fé.g., months or years), to
commence fe.g., 30 or 60 days) after the date of this judgment; or

D C) = Payment in equal (e.g. weekly, monthly, quarterfy) installments of $ over a period of (é.g., months or years), to
commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E Ci Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.

The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Js Special instructions regarding the payment of criminal monetary penalties: you shall pay to the Clerk of the Court any financial
obligation ordered herein that remains unpaid at the commencement of the term of supervised release, at a rate of not less than 10% of
the total of your gross earnings minus federal and state income tax withholdings. $26,000 fine shall be fully paid by end of 2 year
Probation term.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
durmg imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Li Joint and Several

Case Number Total Amourt Joint and Several Corresponding Payee, if
Defendant and Co-Defendant Names Amount Appropriate

(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

LC] The defendant shall pay the cost of prosecution.

[The defendant shall pay the following court cost(s):

C} The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)

fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.

 
